     Case 2:13-cr-06070-SAB         ECF No. 87       filed 07/15/24     PageID.312   Page 1 of 2




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 3 Brandon L. Pang

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 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                            EASTERN DISTRICT OF WASHINGTON
 9

10 UNITED STATES OF AMERICA,                             2:13-CR-06070-SAB
11
                           Plaintiff,
12                                                       Notice of Substitution and
            vs.                                          Withdrawal of Counsel for the
13
                                                         United States
14 KENNETH RICHARD ROWELL

15                         Defendant.
16

17          Plaintiff, United States of America, by and through Vanessa R. Waldref, United
18
     States Attorney for the Eastern District of Washington, and Brandon L. Pang,
19
     Assistant United States Attorney for the Eastern District of Washington, hereby
20

21 substitutes as counsel of record on behalf of the United States replacing Earl A. Hicks,

22
     who hereby withdraws as counsel of record on behalf of the United States.
23

24
            DATED July 15, 2024.
            Vanessa R. Waldref
25          United States Attorney
26
            s/ Brandon L. Pang                          s/ Earl A. Hicks
27
            Brandon L. Pang                             Earl A. Hicks
28          Assistant United States Attorney            Assistant United States Attorney
     Notice of Substitution and Withdrawal of Counsel for the United States - 1
     Case 2:13-cr-06070-SAB         ECF No. 87       filed 07/15/24     PageID.313   Page 2 of 2




                                       CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on July 15, 2024, I electronically filed the foregoing with
 3
     the Clerk of the Court using the CM/ECF System, which in turn automatically
 4
     generated a Notice of Electronic Filing (NEF) to all parties in the case who are
 5

 6 registered users of the CM/ECF system.

 7
            Federal Public Defender - YAK
 8          Federal Defenders - YAK
 9
            Eastern Washington
            306 East Chestnut Avenue
10          Yakima, WA 98901
11
                                                 s/ Brandon L. Pang
12                                               Brandon L. Pang
13
                                                 Assistant United States Attorney

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     Notice of Substitution and Withdrawal of Counsel for the United States - 2
